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IN THE UNITED STATES DISTRICT COUR
FOR THE EASTERN DISTRICT OF PENNSYLYA SSE NEVNOURT

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EON FRENKEL, et al., : CIVIL acTion Ge
NO. 10-1687
Plaintiffs, th
oy,

JOHN P. ACUNTO, JR., et al.,

Defendants.

JUDGMENT

AND NOW, this 14th day of June, 2011, it is hereby
ORDERED that, for reasons expressed on the record during : ‘the

Court's hearing on May 3, 2011, JUDGMENT is entered as ) follows:

(1) in favor of Plaintiff Leon Frenkel and against the
Defendants John PF. Acumto, Absolute Partners, tne. art
Absolute Pro Studios, Inc., jointly and severally in
the amount of $226,818.12 with post-judgment interest
at the contract rate and, additional costs and

attorneys’ fees;

{2) in favor of Plaintiff£ Leon Frenkel and against the
Defendants John P. Acunto and Absolute Partners, Inc.,
jointly and severally in the amount of $56,868.49 with
post-judgment interest pursuant to 42 Pa.c.s. § 8101

and 28 U.S.C. § 1961 and, additional casts and 5

attorneya’ fees; and

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(3} in favor of Plaintiff Periscope Partners, LiP., and
against the Defendant John P. Acunto in the! amount of
$494,250.00 with post-judgment interest pursuant to 42

Pa.C.S. § 8101 and 28 U.S.C. § 1961 and, additional

costs and attorneys' fees.

AND IT IS SO ORDERED.

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EDUARDO C. ROBRENO, J. :

